          Case 2:18-cv-00541-JNP Document 12 Filed 08/02/18 Page 1 of 1
                        U.S. District Court for the District of Utah
                 Alternative Dispute Resolution Program
For the benefit of the public and the bar, the District of Utah offers two alternatives to litigation for
dispute resolution assistance in all civil cases and bankruptcy adversary proceedings. These
alternative dispute resolution (“ADR”) options are: arbitration and mediation. The court offers these
alternatives because when compared with litigation in appropriate cases, they can resolve disputes
faster, at less expense, and with solutions that are better able to meet the parties needs and interests.

                                        ARBITRATION

Arbitration is a private, formal, voluntary dispute resolution process conducted by an impartial third
person, the arbitrator, who hears the case and determines what award, if any, should be made. In
arbitration, the standards regarding evidence, discovery, and civil procedures are relaxed to varying
degrees determined by the arbitrator in consultation with the parties.

                                          MEDIATION

Mediation is an informal, confidential process in which a neutral third person, the mediator, assists
the parties to reach a mutually agreeable settlement. The mediator does not rule on issues or impose
a settlement. Instead, the mediator helps the parties to improve communication, clarify interests and
examine the strength and weaknesses of each party’s positions. Also, the mediator can identify areas
of agreement and help the parties to propose and evaluate options.

What rules govern the ADR Program? DUCivR 16-2, and the ADR Plan govern the ADR
Program.

How do I get my case into an ADR process? Parties may request arbitration or mediation by filing
a Motion of Referral to ADR (In CM/ECF, choose Motion for ADR) along with a proposed order.
The assigned judge may also order a case into mediation on the judge’s own motion. Parties are
encouraged to contact the ADR Coordinator at (801) 524-6196, to have an order drafted for
your case or to discuss referral. Parties are encouraged to contact the ADR Coordinator as
well to inform the court of a time when ADR could be more useful and the Program will follow
up.

When can I get my case into an ADR process? A case may be referred to ADR at any time.

What litigation deadlines are affected by an order referring a case to ADR? The formal
discovery process is stayed by an order referring a case to ADR pursuant to DUCivR 16-2(f).
Parties may stipulate to conduct some discovery even after the case is referred. Unless otherwise
ordered by the assigned judge, all other pretrial deadlines or hearings remain in effect.

What costs does participation in the ADR Program entail? Court-appointed arbitrators and
mediators will set their own rate for each hour spent in an ADR conference. Unless the parties agree
otherwise, the compensation fee is split evenly between the parties. Parties who are unable to pay
their portion of the compensation fee may move the court to waive their portion of the fee.

How can I obtain more information about the Court’s ADR Program? Visit the Court’s website
at http://utd-admin.jdc.ao.dcn/adr-plan which contains information about the court’s ADR Program,
including the local rule, the ADR Plan, sample forms and the rosters of arbitrators and mediators.
Parties may also contact the ADR Coordinator, at (801) 524-6196.
